     Case 1:16-cv-01256-EGS-ZMF Document 76-1 Filed 02/22/22 Page 1 of 22




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN CIVIL LIBERTIES UNION and
 AMERICAN CIVIL LIBERTIES UNION
 FOUNDATION,

                 Plaintiffs,                                Case No. 1:16-cv-01256 (EGS)

         v.

 CENTRAL INTELLIGENCE AGENCY,
 et al.,

                 Defendants.


                               DECLARATION OF ALEX ABDO

I, Alex Abdo, hereby declare:

       1.      I make this declaration based on my own personal knowledge, and if called to

testify I could and would so competently as follows:

       2.      I am a member of the Bar of the State of New York. I am admitted to practice before

the Supreme Court; the United States Courts of Appeals for the D.C. Circuit, First Circuit, Second

Circuit, Fourth Circuit, and Ninth Circuit; and the United States District Courts for the Southern

District of New York and the Eastern District of New York. I am the litigation director of the

Knight First Amendment Institute at Columbia University and an attorney for the plaintiffs in this

matter. I graduated from Harvard Law School in 2006, after which I served as law clerk to the

Honorable Barbara M.G. Lynn of the United States District Court for the Northern District of

Texas and then to the Honorable Rosemary Barkett of the United States Court of Appeals for the

Eleventh Circuit. I joined the staff of the Knight Institute in 2017. Prior to joining the Institute, I

worked for eight years at the American Civil Liberties Union (“ACLU”), in the ACLU’s National

Security Project and Speech, Technology, and Privacy Project.


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       3.      I have substantial experience litigating Freedom of Information Act (“FOIA”)

cases. For example, for nearly a decade, I litigated the case ACLU v. Department of Defense, No.

4-CV-4151 (AKH) (S.D.N.Y.), a long-running FOIA case that resulted in the disclosure of over

150,000 pages of agency records concerning the abuse of individuals held in U.S. custody after

the 9/11 attacks. That case was filed in the Southern District of New York and involved multiple

published opinions, multiple trips to the Second Circuit, and one trip to the Supreme Court. See,

e.g., ACLU v. DOD, 827 F. Supp. 2d 217 (S.D.N.Y. 2011); ACLU v. DOD, 543 F.3d 59 (2d Cir.

2008), vacated by DOD v. ACLU, 130 S. Ct. 777 (2009). During that time and since then, I have

litigated many other FOIA cases, including, among others: ACLU v. National Security Agency,

No. 1:13-CV-9198 (S.D.N.Y.) (seeking records relating to foreign intelligence surveillance

undertaken pursuant to Executive Order 12,333); Campaign for Accountability v. Department of

Justice, 486 F. Supp. 3d 424 (D.D.C. 2020) (seeking affirmative disclosure of the Office of Legal

Counsel’s formal written opinions under FOIA’s “reading room” provision); Freedom of the Press

Foundation v. Department of Justice, 493 F. Supp. 3d 251, 260 (S.D.N.Y. 2020) (seeking records

relating to surveillance of the press); Knight First Amendment Institute at Columbia University v.

Centers for Disease Control and Prevention, No. 20-cv-2761 (AT) (S.D.N.Y.) (seeking records

relating to personal-capacity speech by CDC employees); Francis v. Department of Justice, No.

2:19-CV-1317 (W.D. Wash.) (seeking the release of OLC opinions issued prior to 1994); Knight

First Amendment Institute at Columbia University v. Central Intelligence Agency, No. 1:18-cv-

02709-TNM (D.D.C.) (seeking records relating to the intelligence agencies’ possible “duty to

warn” journalist Jamal Khashoggi about threats to his life); Doyle v. Department of Homeland

Security, 959 F.3d 72 (2d Cir. 2020) (seeking the Secret Service’s logs of visits to the White

House).




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       4.      I also have special expertise in the subject of this FOIA lawsuit—namely, the

government’s system of prepublication review. I am counsel to the plaintiffs in Edgar v. Haines,

2 F.4th 298 (4th Cir. 2021), petition for cert. filed, 2020 WL 12701232 (U.S. Nov. 22, 2021) (No.

21-791), a constitutional challenge to the prepublication review systems of the Central Intelligence

Agency, National Security Agency, Department of Defense, and Office of the Director of National

Intelligence. I have written a number of pieces about the lawsuit and the prepublication review

process more generally. See, e.g., Alex Abdo & Meenakshi Krishnan, Explainer: Prepublication

Review and How it Applies to Bolton, Just Security (Jan. 30, 2020), https://perma.cc/2GP6-RN7K;

Alex Abdo, Jameel Jaffer, Meenakshi Krishnan, & Ramya Krishnan, How A New Administration—

And A New Congress—Can Fix Prepublication Review: A Roadmap for Reform, Just Security

(Nov. 24, 2020), https://perma.cc/TZT5-ZZ99.

       5.      I also oversaw the creation of an interactive chart, now on the Knight Institute’s

website, that allows members of the public to study and compare the key features of the

prepublication review systems of seventeen intelligence agencies and of the three secrecy

agreements those agencies typically require their employees to sign as a condition of access to

classified information. See Knight First Amendment Institute at Columbia University, Interactive

Chart: Prepublication Review by Agency and Secrecy Agreement (Aug. 27, 2019),

https://knightcolumbia.org/content/prepublication-review-by-agency-and-agreement. The Knight

Institute frequently receives queries from former intelligence agency employees about the scope

of their prepublication review obligations. We often refer these individuals to the chart as a helpful

resource.

       6.      Over the course of the present litigation, I maintained contemporaneous time

records of work I performed on this case. I did so using Toggl, an online time-tracking software




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program that allows me to record my hours. During the course of this litigation, I generally

recorded my time using Toggl’s timer feature, which allows me to record my time to the minute;

sometimes, however, I added my time to Toggl manually, in which case I recorded it in five-minute

increments. In preparation for this motion, I exported a CSV file from Toggl that contained time

entries I had recorded relating to this litigation. In reviewing that statement, I deleted all entries

relating to the summary judgment motions practice in this case; I deleted entries that were

duplicative or improperly assigned to the case; I made clarifying (but non-substantive) edits to the

“Description” column; and I deleted some entries in the exercise of billing judgment.

       7.      Once these edits were made, I oversaw the compilation of my timesheet with the

timesheets of the other attorneys for whom we are seeking fees. In adding our respective billing

rates and calculating the total fees, I used billing rates that would be charged by private attorneys

with comparable experience and expertise. Based on conversations with colleagues who have

recently researched the issue, I am familiar with the billing practices and rates of law firms in

Washington D.C., and I understand the prevailing market rate for an attorney of my experience

and expertise to be well above $750 per hour.

       8.      The fees for which we seek compensation are reasonable in relation to the work

done. Before submitting this motion, Plaintiffs’ attorneys made two decisions to ensure that the

fees sought would be reasonable. First, we decided that we would not seek compensation for work

done by paralegals, legal interns, or legal assistants. Second, we decided that we would not seek

compensation for the work done by legal fellows, though those fellows spent a considerable

amount of time on the case. (For example, the first draft of Plaintiffs’ complaint was prepared

entirely by a past ACLU legal fellow, Benjamin Good.) Although we believe the fees we




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eliminated were compensable, we eliminated those fees out of an abundance of caution to ensure

that we were not billing excessively.

       9.      I believe the resulting proposed fees represent a very reasonable and conservative

accounting of the work done on this lawsuit.

       10.     A summary of the total attorneys’ fees that we are seeking is attached to this

declaration as Exhibit A.

       11.     A detailed timesheet for the four attorneys for whom we are seeking fees is attached

to this declaration as Exhibit B.

       12.     The docket report from this lawsuit is attached to this declaration as Exhibit C.

Plaintiffs seek the reimbursement of litigation costs in the amount of $700.00. These costs include

the filing fees associated with the Complaint and three motions for leave to appear pro hac vice,

as noted in docket entries Nos. 1, 4, 5, and 24.



                                                       Respectfully submitted,

                                                        /s/ Alex Abdo
                                                       Alex Abdo
February 22, 2022




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              EXHIBIT A
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                    Summary of Attorney's Fees - ACLU v. CIA
            Attorney    Time (hours)     Rate (hourly)       Fees
        Jameel Jaffer        0.67       $       800.00 $        533.78
        Alex Abdo           10.42       $       750.00 $      7,815.63
        Art Spitzer          0.90       $       850.00 $        765.00
        Brett Kaufman       11.34       $       750.00 $      8,508.13
        TOTAL               23.33                         $ 17,622.53
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               EXHIBIT B
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                                                                                                           Time
  Date        Attorney                                  Description                                       (Hours)     Rate           Amount
5/19/16    Brett Kaufman Review and edit PPR FOIA Complaint.                                                2.04    $ 750.00     $    1,530.83
6/18/16    Art Spitzer   Email co-counsel re: PPR FOIA Complaint                                            0.10    $ 850.00     $       85.00
                         Meet with J. Jaffer & B. Good (ACLU) re: PPR FOIA Complaint & strategy
6/8/16     Brett Kaufman for filing, timing, etc.                                                          0.42     $ 750.00     $      312.92
                         Meet with B. Kaufman & B. Good re: PPR FOIA Complaint & strategy for
6/8/16     Jameel Jaffer filing, timing, etc.                                                              0.42     $ 800.00     $      333.78
                         Review and edit PPR FOIA Complaint and circulate comments to
6/21/16    Art Spitzer   litigation team.                                                                  0.50     $   850.00   $      425.00
6/21/16    Art Spitzer     Review and correct Complaint cover sheet for filing.                            0.10     $   850.00   $       85.00
6/21/16    Art Spitzer     Review motions for admission pro hac vice .                                     0.10     $   850.00   $       85.00
6/21/16    Brett Kaufman   Final review and edit of PPR FOIA Complaint.                                    0.68     $   750.00   $      512.50
6/22/16    Art Spitzer     Email co-counsel re: service of Complaint.                                      0.10     $   850.00   $       85.00
8/31/16    Brett Kaufman   Call with Ryan Parker (DOJ), with B. Good.                                      0.54     $   750.00   $      407.92
9/28/16    Brett Kaufman   Review documents released by DHS.                                               1.05     $   750.00   $      785.21
10/3/16    Brett Kaufman   Call with Ryan Parker (DOJ) re: CIA, DIA, official/unofficial records.          0.33     $   750.00   $      250.00
10/6/16    Brett Kaufman   Call with Ryan Parker (DOJ) re: DOS records.                                    0.06     $   750.00   $       42.29
10/7/16    Brett Kaufman   Call with J. Jaffer re: government's narrowing request.                         0.25     $   750.00   $      187.50
10/7/16    Jameel Jaffer   Call with B. Kaufman re: government's narrowing request.                        0.25     $   800.00   $      200.00
                           Call with Ryan Parker (DOJ) re: clarifications, whether ACLU is seeking
                           underlying submitted works, potential limiting of scope, and upcoming
10/19/16   Brett Kaufman   status report.                                                                  0.25     $   750.00   $      187.50
11/2/16    Brett Kaufman   Call with Ryan Parker (DOJ) re: agency productions.                             0.23     $   750.00   $      175.00
11/9/16    Brett Kaufman   Internal meeting re: FBI's first batch of records.                              0.25     $   750.00   $      187.50
3/28/17    Alex Abdo       Review ODNI production for compliance with request.                             0.30     $   750.00   $      225.83
                           Review status of FOIA processing in preparation for discussion of status
4/6/17     Alex Abdo       report with DOJ.                                                                2.08     $   750.00   $    1,560.00
4/6/17     Alex Abdo       Call with Ryan Parker (DOJ) re: status report due on 4/7/17.                    0.82     $   750.00   $      618.33
4/6/17     Alex Abdo       Email co-counsel re: conversation with Ryan Parker (DOJ).                       0.10     $   750.00   $       72.71
4/7/17     Alex Abdo       Review draft status report received from DOJ.                                   0.31     $   750.00   $      232.50
                           Call with B. Kaufman to review productions and determine litigation
6/16/17    Alex Abdo       positions for upcoming status update to the Court.                              1.50     $ 750.00     $    1,125.00
                           Call with A. Abdo to review productions, determine litigation positions for
6/16/17    Brett Kaufman   upcoming status update to the Court.                                            1.50     $ 750.00     $    1,125.00
                           Call with A. Abdo to discuss status of FOIA requests and upcoming status
6/16/17    Brett Kaufman   report to the Court.                                                            1.40     $ 750.00     $    1,048.96
6/19/17    Alex Abdo       Call with Ryan Parker (DOJ) & B. Kaufman re: upcoming status report.            0.97     $ 750.00     $      723.96
6/19/17    Brett Kaufman   Call with Ryan Parker (DOJ) & A. Abdo re: upcoming status report.               0.97     $ 750.00     $      723.96
                           Call with Ryan Parker (DOJ) & B. Kaufman re: status of agency
8/22/17    Alex Abdo       processing.                                                                     1.15     $ 750.00     $      861.67
                           Call with Ryan Parker (DOJ) & A. Abdo re: upcoming status report and
8/22/17    Brett Kaufman   status of agency productions.                                                   0.23     $ 750.00     $      175.00
8/23/17    Alex Abdo       Review draft joint status report to the Court.                                  0.24     $ 750.00     $      182.50
                           Draft stipulation to dismiss seven agencies that have completed
8/24/17    Alex Abdo       processing to our satisfaction.                                                 0.73     $   750.00   $      548.13
10/18/17   Alex Abdo       Call with Ryan Parker (DOJ) & B. Kaufman re: status report.                     0.33     $   750.00   $      250.00
10/18/17   Brett Kaufman   Call with Ryan Parker (DOJ) & A. Abdo re: status report.                        0.33     $   750.00   $      250.00
10/19/17   Alex Abdo       Review draft joint status report.                                               0.11     $   750.00   $       83.96
                           Call with B. Kaufman & R. Krishnan (Knight) re: processing of FOIA
10/24/17 Alex Abdo         documents.                                                                      0.39     $ 750.00     $      293.54
10/24/17 Brett Kaufman     Call with A. Abdo & R. Krishnan re: processing of FOIA documents.               0.39     $ 750.00     $      293.54
                           Call with B. Kaufman re: Air Force charts & outstanding productions in
12/20/17 Alex Abdo         anticipation of upcoming status report.                                         0.42     $ 750.00     $      312.50
12/20/17 Alex Abdo         Call with Ryan Parker (DOJ) re: status of processing.                           0.83     $ 750.00     $      625.00
                           Call with A. Abdo re: Air Force charts & outstanding productions in
12/20/17 Brett Kaufman     anticipation of upcoming status report.                                          0.42    $ 750.00     $    312.50
12/22/17 Alex Abdo         Review joint proposed scheduling order.                                          0.13    $ 750.00     $    100.00
                                                                                                  TOTAL    23.33                 $ 17,622.53
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               EXHIBIT C
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                                        D   c  C      b a (Wa      , DC)
                                   CIVIL DOCKET FOR CASE #: 1:16-c -01256-EGS


    AMERICAN CIVIL LIBERTIES UNION e al . CENTRAL                                      Da e Filed: 06/21/2016
    INTELLIGENCE AGENCY e al                                                           Da e Te mina ed: 12/09/2021
    A igned o: J dge Emme G. S lli an                                                  J   Demand: None
     Ca e: 1:18-c -01129-EGS                                                           Na e of S i : 895 F eedom of Info ma ion
    Ca e: 05:552 F eedom of Info ma ion Ac                                             Ac
                                                                                       J i dic ion: U.S. Go e nmen Defendan


    Da e Filed              #   Docke Te
    06/21/2016              1 COMPLAINT again CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF
                              DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND
                              SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE, DEPARTMENT
                              OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE (
                              Filing fee $ 400 eceip n mbe 0090-4576095) led b AMERICAN CIVIL LIBERTIES
                              UNION FOUNDATION, AMERICAN CIVIL LIBERTIES UNION. (A achmen : # 1
                              Ci il Co e Shee , # 2 R le 7.1 Di clo e, # 3 S mmon , # 4 S mmon , # 5 S mmon , #
                              6 S mmon , # 7 S mmon , # 8 S mmon , # 9 S mmon , # 10 S mmon )(Spi e , A h )
                              (En e ed: 06/21/2016)
    06/21/2016              2 LC R 7.1 CERTIFICATE OF DISCLOSURE of Co po a e Af lia ion and Financial
                              In e e b AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL LIBERTIES
                              UNION FOUNDATION. (md) (En e ed: 06/21/2016)
    06/21/2016                  Ca e A igned o J dge Emme G. S lli an. (md) (En e ed: 06/21/2016)
    06/22/2016              3 SUMMONS (10) I ed Elec onicall a o CENTRAL INTELLIGENCE AGENCY,
                              DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                              DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                              INTELLIGENCE, U.S. A o ne and U.S. A o ne Gene al (A achmen : # 1 No ice of
                              Con en ) (md) (En e ed: 06/22/2016)
    06/28/2016              4 MOTION fo Lea e o Appea P o Hac Vice :A o ne Name- Benjamin Robe Good,
                              :Fi m- Ame ican Ci il Libe ie Union Fo nda ion, :Add e - 125 B oad S ee , 18 h
                              Floo , Ne Yo k, NY 10004. Phone No. - 212-549-2500. Fa No. - 212-549-2654 Filing
                              fee $ 100, eceip n mbe 0090-4584776. Fee S a : Fee Paid. b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION (Spi e ,
                              A h ) (En e ed: 06/28/2016)
    06/28/2016              5 MOTION fo Lea e o Appea P o Hac Vice :A o ne Name- B e Ma Ka fman, :Fi m-
                              Ame ican Ci il Libe ie Union Fo nda ion, :Add e - 125 B oad S ee , 18 h Floo , Ne
                              Yo k, NY 10004. Phone No. - 212-549-2500. Fa No. - 212-548-2654 Filing fee $ 100,
                               eceip n mbe 0090-4584784. Fee S a : Fee Paid. b AMERICAN CIVIL LIBERTIES
                              UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION (Spi e , A h )
                              (En e ed: 06/28/2016)
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    06/29/2016         MINUTE ORDER g an ing 4 mo ion fo lea e o appea p o hac ice. Benjamin Robe
                       Good i he eb admi ed p o hac ice in hi ma e . Signed b J dge Emme G. S lli an
                       on J ne 29, 2016. (lceg 3) (En e ed: 06/29/2016)
    06/29/2016                 MINUTE ORDER g an ing 5 mo ion fo lea e o appea p o hac ice. B e Ma Ka famn
                               i he eb admi ed p o hac ice in hi ma e . Signed b J dge Emme G. S lli an on J ne
                               29, 2016. (lceg 3) (En e ed: 06/29/2016)
    07/22/2016             6 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed a o he
                             Uni ed S a e A o ne . Da e of Se ice Upon Uni ed S a e A o ne on 7/6/2016. An     e
                             d e fo ALL FEDERAL DEFENDANTS b 8/5/2016. (Good, Benjamin) (En e ed:
                             07/22/2016)
    07/22/2016             7 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed on Uni ed
                             S a e A o ne Gene al. Da e of Se ice Upon Uni ed S a e A o ne Gene al J l 5,
                             2016. (Good, Benjamin) (En e ed: 07/22/2016)
    07/22/2016             8 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed. OFFICE OF
                             THE DIRECTOR OF NATIONAL INTELLIGENCE e ed on 7/5/2016 (Good,
                             Benjamin) (En e ed: 07/22/2016)
    07/22/2016             9 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF THE TREASURY e ed on 7/5/2016 (Good, Benjamin) (En e ed:
                             07/22/2016)
    07/22/2016            10 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF STATE e ed on 7/5/2016 (Good, Benjamin) (En e ed: 07/22/2016)
    07/22/2016            11 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF JUSTICE e ed on 7/6/2016 (Good, Benjamin) (En e ed:
                             07/22/2016)
    07/22/2016            12 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF ENERGY e ed on 7/5/2016 (Good, Benjamin) (En e ed:
                             07/22/2016)
    07/22/2016            13 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF DEFENSE e ed on 7/5/2016 (Good, Benjamin) (En e ed:
                             07/22/2016)
    07/22/2016            14 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed.
                             DEPARTMENT OF HOMELAND SECURITY e ed on 7/5/2016 (Good, Benjamin)
                             (En e ed: 07/22/2016)
    07/22/2016            15 RETURN OF SERVICE/AFFIDAVIT of S mmon and Complain E ec ed. CENTRAL
                             INTELLIGENCE AGENCY e ed on 7/5/2016 (Good, Benjamin) (En e ed: 07/22/2016)
    07/26/2016            16 Con en MOTION fo E en ion of Time o F R    P        b CENTRAL
                             INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT OF
                             ENERGY, DEPARTMENT OF HOMELAND SECURITY, DEPARTMENT OF JUSTICE,
                             DEPARTMENT OF STATE, DEPARTMENT OF THE TREASURY, OFFICE OF THE
                             DIRECTOR OF NATIONAL INTELLIGENCE (A achmen : # 1 Te of P opo ed
                             O de )(Pa ke , R an) (En e ed: 07/26/2016)
    07/27/2016                 MINUTE ORDER g an ing 16 defendan ' noppo ed mo ion fo e en ion of ime.
                               Defendan hall an e , o o he i e e pond o plain iff ' complain , b no la e han
                               Sep embe 7, 2016. Signed b J dge Emme G. S lli an on J l 27, 2016. (lceg 3)
                               (En e ed: 07/27/2016)

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    07/27/2016         Se /Re e Deadline /Hea ing : An e o o he e pon e d e b 9/7/2016. (cd ) (En e ed:
                       07/28/2016)
    08/01/2016            17 REQUEST FOR SUMMONS TO ISSUE led b AMERICAN CIVIL LIBERTIES
                             UNION FOUNDATION, AMERICAN CIVIL LIBERTIES UNION.(Good, Benjamin)
                             (En e ed: 08/01/2016)
    08/02/2016            18 SUMMONS I              ed Elec onicall a o DEPARTMENT OF STATE. (jf) (En e ed:
                             08/02/2016)
    08/31/2016            19 NOTICE OF WITHDRAWAL OF APPEARANCE a o AMERICAN CIVIL LIBERTIES
                             UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. A o ne Benjamin
                             Robe Good e mina ed. (Good, Benjamin) (En e ed: 08/31/2016)
    09/07/2016            20 ANSWER o Complain b CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF
                             DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND
                             SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE, DEPARTMENT
                             OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE.
                             (Pa ke , R an) (En e ed: 09/07/2016)
    09/30/2016            21 STANDING ORDER. The pa ie a e di ec ed o ead hi O de in i en i e         pon
                              eceip . The pa ie hall le a p opo ed ched le fo f  e p oceeding b no la e han
                             Oc obe 7, 2016. Signed b J dge Emme G. S lli an on 09/30/2016. (lceg 3) (En e ed:
                             09/30/2016)
    10/03/2016                 Se /Re e Deadline : Join Sched ling O de Fo F      he P oceeding d e b 10/7/2016.
                               (mac) (En e ed: 10/03/2016)
    10/04/2016            22 Join MOTION fo E en ion of Time o F           P     F     P
                             b CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE,
                             DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND SECURITY,
                             DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE (A achmen : # 1 Te                     of
                             P opo ed O de )(Pa ke , R an) (En e ed: 10/04/2016)
    10/04/2016                 MINUTE ORDER g an ing 22 join mo ion fo an e en ion of ime o le a p opo ed
                                ched ling o de . The pa ie hall le hei p opo ed ched ling o de b no la e han
                               No embe 4, 2016. Signed b J dge Emme G. S lli an on 10/4/2016. (lceg 3) (En e ed:
                               10/04/2016)
    10/04/2016                 Se /Re e Deadline : P opo ed Sched ling O de d e b 11/4/2016. (mac) (En e ed:
                               10/04/2016)
    11/04/2016            23 PROPOSED BRIEFING SCHEDULE e 21 O de D            P      F    J
                             P                    O      b CENTRAL INTELLIGENCE AGENCY, DEPARTMENT
                             OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND
                             SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE, DEPARTMENT
                             OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE.
                             (Pa ke , R an) (En e ed: 11/04/2016)
    11/07/2016                 MINUTE ORDER. Upon con ide a ion of he pa ie ' join p opo ed ched ling o de , he
                               pa ie a e di ec ed o le ano he join p opo ed ched ling o de b no la e han Ap il 7,
                               2017. Signed b J dge Emme G. S lli an on 11/7/2016. (lceg 3) (En e ed: 11/07/2016)
    11/07/2016                 Se /Re e Deadline : P opo ed Sched ling O de d e b 4/7/2017. (mac) (En e ed:
                               11/07/2016)
    02/23/2017            24 MOTION fo Lea e o Appea P o Hac Vice :A o ne Name- Ale Abdo, :Fi m- Knigh
                             Fi Amendmen In i e a Col mbia Uni e i , :Add e - 535 We 116 h S ee , Lo
                             Lib a , Ne Yo k, Ne Yo k 10027. Phone No. - 212-854-1128. Filing fee $ 100, eceip
h    ://ecf.dcd. c   .g   /cg -b /D R . ?165764566595621-L_1_0-1                                                    3/12
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                             n mbe 0090-4852480. Fee S a : Fee Paid. b AMERICAN CIVIL LIBERTIES
                             UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION (A achmen : # 1
                             Decla a ion, # 2 Te of P opo ed O de )(Ka fman, B e ) (En e ed: 02/23/2017)
    02/23/2017             25 NOTICE of Appea ance b Jameel Jaffe on behalf of All Plain iff (Jaffe , Jameel)
                              (En e ed: 02/23/2017)
    02/23/2017                  MINUTE ORDER g an ing 24 mo ion fo admi ion p o hac ice. Ale Abdo i he eb
                                admi ed p o hac ice in hi ac ion. Signed b J dge Emme G. S lli an on 02/23/2017.
                                (lceg 3) (En e ed: 02/23/2017)
    04/07/2017             26 PROPOSED BRIEFING SCHEDULE e O de D          P      F   J   P
                                         O      b CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF
                              DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND
                              SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE, DEPARTMENT
                              OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE.
                              (Pa ke , R an) (En e ed: 04/07/2017)
    04/10/2017                  MINUTE ORDER. Upon con ide a ion of he pa ie ' join p opo ed ched ling o de , he
                                pa ie a e di ec ed o le ano he join p opo ed ched ling o de b no la e han J ne 24,
                                2017. Signed b J dge Emme G. S lli an on 04/10/2017. (lceg 3) (En e ed: 04/10/2017)
    04/10/2017                  Se /Re e Deadline : Join P opo ed Sched ling O de d e b 6/24/2017. (mac) (En e ed:
                                04/10/2017)
    06/23/2017             27 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                              DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                              DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                              INTELLIGENCE. (Pa ke , R an) (En e ed: 06/23/2017)
    06/26/2017                  MINUTE ORDER. In ie of 27 he pa ie ' Join P opo ed Sched ling O de , he pa ie
                                a e ORDERED o le ano he join p opo ed ched ling o de b no la e han A g 25,
                                2017 o pda e he Co on he a of defendan ' p od c ion and he he f he
                                li iga ion ill be nece a . Signed b J dge Emme G. S lli an on 06/26/2017. (lceg 3)
                                (En e ed: 06/26/2017)
    06/27/2017                  Se /Re e Deadline : Join P opo ed Sched ling O de d e b 8/25/2017. (mac) (En e ed:
                                06/27/2017)
    08/24/2017             28 STIPULATION of Di mi al          A      C         b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. (Abdo,
                              Ale ande ) (En e ed: 08/24/2017)
    08/25/2017             29 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                              DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE.
                              (Pa ke , R an) (En e ed: 08/25/2017)
    08/28/2017                  MINUTE ORDER. In ie of 29 he pa ie ' Join P opo ed Sched ling O de , he pa ie
                                a e ORDERED o le ano he join p opo ed ched ling o de b no la e han Oc obe 20,
                                2017. Signed b J dge Emme G. S lli an on 8/28/2017.(lceg 3) (En e ed: 08/28/2017)
    08/28/2017                  Se /Re e Deadline : Join P opo ed Sched ling O de d e b 10/20/2017. (mac) (En e ed:
                                08/28/2017)
    10/20/2017             30 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                              DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
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                             DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                             INTELLIGENCE. (Pa ke , R an) (En e ed: 10/20/2017)
    10/20/2017                  MINUTE ORDER In ie of 30 he pa ie ' Join P opo ed B ie ng Sched le, he pa ie
                                a e ORDERED o le ano he join p opo ed b ie ng ched le b no la e han Decembe
                                15, 2017 o pda e he Co on he a of defendan ' p od c ion and he he f he
                                li iga ion ill be nece a . Signed b J dge Emme G. S lli an on 10/20/2017. (lceg 3)
                                (En e ed: 10/20/2017)
    10/23/2017                  Se /Re e Deadline : Join P opo ed B ie ng Sched le d e b 12/15/2017. (mac) (En e ed:
                                10/23/2017)
    12/13/2017             31 Con en MOTION fo E en ion of Time o F J             P B       b
                              CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT
                              OF ENERGY, DEPARTMENT OF HOMELAND SECURITY, DEPARTMENT OF
                              JUSTICE, DEPARTMENT OF STATE, DEPARTMENT OF THE TREASURY, OFFICE
                              OF THE DIRECTOR OF NATIONAL INTELLIGENCE (A achmen : # 1 Te of
                              P opo ed O de )(Pa ke , R an) (En e ed: 12/13/2017)
    12/14/2017                  MINUTE ORDER g an ing 31 con en mo ion fo e en ion of ime o le join p opo ed
                                b ie ng ched le. Pa ie hall he efo e le a join p opo ed b ie ng ched le b
                                Decembe 22, 2017. Signed b J dge Emme G. S lli an on 12/14/2017. (lceg 3)
                                (En e ed: 12/14/2017)
    12/14/2017                  Se /Re e Deadline : Join P opo ed B ie ng Sched le d e b 12/22/2017. (mac) (En e ed:
                                12/14/2017)
    12/22/2017             32 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                              DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                              DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                              INTELLIGENCE. (Pa ke , R an) (En e ed: 12/22/2017)
    01/02/2018             33 MINUTE ORDER in ie of 32 , join p opo ed b ie ng ched le, he pa ie a e o de ed
                               o le ano he join p opo ed b ie ng ched le b Feb a 23, 2018 o pda e he Co
                              on he a of defendan ' p od c ion and he he f he li iga ion ill be nece a .
                              Signed b J dge Emme G. S lli an on 1/2/2018. (lceg 3) (En e ed: 01/02/2018)
    01/03/2018                  Se /Re e Deadline : Join P opo ed B ie ng Sched le d e b 2/23/2018. (mac) (En e ed:
                                01/03/2018)
    01/31/2018             34 NOTICE of Change of Add e             b Ale ande Ab aham Abdo (Abdo, Ale ande ) (En e ed:
                              01/31/2018)
    02/23/2018             35 Join MOTION fo E en ion of Time o F J            P  B      b
                              CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT
                              OF ENERGY, DEPARTMENT OF HOMELAND SECURITY, DEPARTMENT OF
                              JUSTICE, DEPARTMENT OF STATE, DEPARTMENT OF THE TREASURY, OFFICE
                              OF THE DIRECTOR OF NATIONAL INTELLIGENCE (A achmen : # 1 Te of
                              P opo ed O de )(Pa ke , R an) (En e ed: 02/23/2018)
    02/26/2018                  MINUTE ORDER g an ing 35 join mo ion fo e en ion of ime o le join p opo ed
                                b ie ng ched le. The pa ie hall he efo e le hei join p opo ed b ie ng ched le b
                                Ma ch 9, 2018. Signed b J dge Emme G. S lli an on 2/26/2018. (lceg 3) (En e ed:
                                02/26/2018)
    02/26/2018                  Se /Re e Deadline Join P opo ed B ie ng Sched le d e b 3/9/2018. (mac) (En e ed:
                                02/26/2018)

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    03/09/2018    36 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                       DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                       HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                       DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                       INTELLIGENCE. (Pa ke , R an) (En e ed: 03/09/2018)
    03/13/2018                 MINUTE ORDER in ie               of 36 join p opo ed b ie ng ched le, he pa ie a e o de ed
                                o le ano he join p opo         ed b ie ng ched le b Ma 18, 2018 o pda e he Co on he
                                 a of defendan ' p od          c ion and he he f he li iga ion ill be nece a . Signed
                               b J dge Emme G. S lli           an on 3/13/2018. (lceg 3) (En e ed: 03/13/2018)
    03/13/2018                 Se /Re e Deadline : Join P opo ed B ie ng Sched le d e b 5/18/2018 (mac) (En e ed:
                               03/13/2018)
    05/18/2018            37 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                             DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                             HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                             DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                             INTELLIGENCE. (Pa ke , R an) (En e ed: 05/18/2018)
    05/21/2018                 MINUTE ORDER in ie of 37 join p opo ed b ie ng             ched le, he pa ie a e di ec ed
                                o le ano he join p opo ed ched ling o de b A g             10, 2018 o pda e he Co on
                                he a of defendan ' p od c ion and he he f he              li iga ion ill be nece a .
                               Signed b J dge Emme G. S lli an on 5/21/2018. (lceg        3) (En e ed: 05/21/2018)
    05/22/2018                 Se /Re e Deadline : Join P opo ed Sched ling O de d e b 8/10/2018. (mac) (En e ed:
                               05/22/2018)
    06/01/2018            38 NOTICE OF SUBSTITUTION OF COUNSEL b Tam a T ee Moo e on behalf of All
                             Defendan S b i ing fo a o ne R an B adle Pa ke (Moo e, Tam a) (En e ed:
                             06/01/2018)
    08/10/2018            39 PROPOSED BRIEFING SCHEDULE b CENTRAL INTELLIGENCE AGENCY,
                             DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                             HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                             DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                             INTELLIGENCE. (Moo e, Tam a) (En e ed: 08/10/2018)
    08/13/2018                 MINUTE ORDER in             ie of 39 p opo ed b ie ng ched le, in hich he pa ie a e ha
                                he a e o king o a          d e ol ion of he ca e, he pa ie a e di ec ed o le ano he join
                               p opo ed ched ling o        de b Sep embe 21, 2018 o pda e he Co on he he f he
                               li iga ion ill be nece       a . Signed b J dge Emme G. S lli an on 8/13/2018. (lceg 3)
                               (En e ed: 08/13/2018)
    08/14/2018                 Se /Re e Deadline : Join P opo ed Sched ling O de d e b 9/21/2018. (mac) (En e ed:
                               08/14/2018)
    09/21/2018            40 Join P opo ed Sched ling O de b CENTRAL INTELLIGENCE AGENCY,
                             DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                             HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                             DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                             INTELLIGENCE. (Moo e, Tam a) Modi ed on 9/24/2018 o co ec docke e (jf).
                             (En e ed: 09/21/2018)
    09/24/2018                 MINUTE ORDER in ie of 40 join p opo ed ched ling o de , he pa ie a e di ec ed o
                                le ano he join a       epo b no la e han No embe 30, 2018 o pda e he Co a o
                                 he he f he li iga ion ill be nece a . Signed b J dge Emme G. S lli an on
                               9/24/2018. (lceg 3) (En e ed: 09/24/2018)

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               Case 1:16-cv-01256-EGS-ZMF Document
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                                                                      aba e    Page 17 of 22
    09/25/2018         Se /Re e Deadline : Join S a Repo d e b 11/30/2018. (mac) (En e ed: 09/25/2018)
    11/30/2018            41 Con en MOTION fo E en ion of Time o F J     R       b CENTRAL
                             INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT OF
                             ENERGY, DEPARTMENT OF HOMELAND SECURITY, DEPARTMENT OF JUSTICE,
                             DEPARTMENT OF STATE, DEPARTMENT OF THE TREASURY, OFFICE OF THE
                             DIRECTOR OF NATIONAL INTELLIGENCE (A achmen : # 1 Te of P opo ed
                             O de )(Moo e, Tam a) (En e ed: 11/30/2018)
    12/03/2018                 MINUTE ORDER g an ing 41 defendan ' con en mo ion fo e en ion of ime o le
                               join a     epo . The pa ie hall he efo e le a join a      epo b Decembe 10,
                               2018. Signed b J dge Emme G. S lli an on 12/3/2018. (lceg 3) (En e ed: 12/03/2018)
    12/04/2018                 Se /Re e Deadline : Join S a        Repo d e b 12/10/2018. (mac) (En e ed: 12/04/2018)
    12/10/2018            42 Join STATUS REPORT b CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF
                             DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF HOMELAND
                             SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE, DEPARTMENT
                             OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE.
                             (Moo e, Tam a) (En e ed: 12/10/2018)
    12/11/2018                 MINUTE ORDER. In ie of 42 join a           epo , he pa ie a e di ec ed o le ano he
                               join a       epo b Jan a 25, 2019 pda ing he Co a o he he f he li iga ion
                                 ill be nece a and p opo ing a b ie ng ched le, if app op ia e. Signed b J dge
                               Emme G. S lli an on 12/11/2018. (lceg 3) (En e ed: 12/11/2018)
    12/12/2018                 Se /Re e Deadline : Join S a        Repo d e b 1/25/2019. (mac) (En e ed: 12/12/2018)
    01/25/2019            43 Join MOTION fo E en ion of Time o File J          R       b AMERICAN CIVIL
                             LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                             (A achmen : # 1 Te of P opo ed O de )(Ka fman, B e ) (En e ed: 01/25/2019)
    01/25/2019                 MINUTE ORDER g an ing 43 join mo ion fo e en ion of ime o le join a            epo .
                               The pa ie a e di ec ed o le ano he join a       epo b no la e han Feb a 11, 2019
                                 pda ing he Co a o he he f he li iga ion ill be nece a and p opo ing a
                               b ie ng ched le, if app op ia e. Signed b J dge Emme G. S lli an on 1/25/2019.
                               (lceg 3) (En e ed: 01/25/2019)
    01/28/2019                 Se /Re e Deadline : Join S a        Repo d e b 2/11/2019. (mac) (En e ed: 01/28/2019)
    01/28/2019            44 NOTICE         C        R             A      b CENTRAL INTELLIGENCE
                             AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY,
                             DEPARTMENT OF HOMELAND SECURITY, DEPARTMENT OF JUSTICE,
                             DEPARTMENT OF STATE, DEPARTMENT OF THE TREASURY, OFFICE OF THE
                             DIRECTOR OF NATIONAL INTELLIGENCE e O de on Mo ion fo E en ion of Time
                             o File, (Moo e, Tam a) (En e ed: 01/28/2019)
    02/11/2019            45 Join P opo ed Sched ling O de b CENTRAL INTELLIGENCE AGENCY,
                             DEPARTMENT OF DEFENSE, DEPARTMENT OF ENERGY, DEPARTMENT OF
                             HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                             DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                             INTELLIGENCE. (Moo e, Tam a) Modi ed on 2/12/2019 o co ec docke e (jf).
                             (En e ed: 02/11/2019)
    02/12/2019                 MINUTE ORDER. In ie of he 45 Join P opo ed Sched ling O de , he pa ie a e
                               di ec ed o le a join a  epo b no la e han J l 26, 2019, pda ing he Co on he
                                 a of Defendan ' e pon e o Plain iff ' FOIA e e and p opo ing a ched le fo
                               f he p oceeding . The Co decline o adop Plain iff ' p opo ed bif ca ed mma
                               j dgmen b ie ng ched le b an iall fo he ea on e fo h in Defendan ' p opo al.
h    ://ecf.dcd. c   .g   /cg -b /D R . ?165764566595621-L_1_0-1                                                        7/12
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                             See Join P opo ed Sched ling O de , ECF No. 45 a 9-10. Signed b J dge Emme G.
                             S lli an on 2/12/2019. (lceg 3) (En e ed: 02/12/2019)
    02/12/2019                  Se /Re e Deadline : Join S a          Repo d e b 7/26/2019. (mac) (En e ed: 02/12/2019)
    05/03/2019             46 STANDING ORDER: The pa ie a e di ec ed o ead he a ached S anding O de
                              Go e ning Ci il Ca e Befo e J dge Emme G. S lli an in i en i e   pon eceip . The
                              pa ie a e he eb ORDERED o compl i h he di ec i e in he a ached S anding
                              O de . Signed b J dge Emme G. S lli an on 05/03/19. (A achmen : E hibi 1) (mac)
                              (En e ed: 05/03/2019)
    05/24/2019             47 MOTION fo Lea e o Appea P o Hac Vice :A o ne Name- Ram a K i hnan, :Fi m-
                              Knigh Fi Amendmen In i e a Col mbia Uni e i , :Add e -
                               am a.k i hnan@knigh col mbia.o g. Phone No. - 6467458500. Filing fee $ 100, eceip
                              n mbe 0090-6144907. Fee S a : Fee Paid. b AMERICAN CIVIL LIBERTIES
                              UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION (A achmen : # 1
                              Decla a ion, # 2 Te of P opo ed O de )(Jaffe , Jameel) (En e ed: 05/24/2019)
    05/28/2019                  MINUTE ORDER g an ing 47 Mo ion fo Lea e o Appea P o Hac Vice. The Co
                                he eb g an Ram a K i hnan p o hac ice admi ion o hi Co p            an o Local Ci il
                                R le 83.2. Signed b J dge Emme G. S lli an on 5/28/2019. (lceg 3) (En e ed:
                                05/28/2019)
    07/24/2019             48 NOTICE OF SUBSTITUTION OF COUNSEL b An onia Ma ie Konkol on behalf of
                              CENTRAL INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT
                              OF HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF
                              STATE, DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF
                              NATIONAL INTELLIGENCE S b i ing fo a o ne Tam a Moo e (Konkol , An onia)
                              (En e ed: 07/24/2019)
    07/26/2019             49 Join STATUS REPORT    P                   F       P           b CENTRAL
                              INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                              DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                              INTELLIGENCE. (A achmen : # 1 Te of P opo ed O de )(Konkol , An onia) (En e ed:
                              07/26/2019)
    07/29/2019                  MINUTE ORDER. In ie of he 49 Join S a Repo , Plain iff hall comm nica e all
                                i e and i hholding he plan o challenge o Defendan b no la e han J l 31,
                                2019. The pa ie a e di ec ed o mee and confe , and le a f he join a     epo b no
                                la e han A g 7, 2019, p opo ing a ched le fo di po i i e mo ion . Signed b J dge
                                Emme G. S lli an on 7/29/2019. (lceg 3) (En e ed: 07/29/2019)
    07/29/2019                  Se /Re e Deadline : F          he Join S a   Repo d e b 8/7/2019. (mac) (En e ed:
                                07/29/2019)
    08/07/2019             50 Join STATUS REPORT     P        B               b CENTRAL
                              INTELLIGENCE AGENCY, DEPARTMENT OF DEFENSE, DEPARTMENT OF
                              HOMELAND SECURITY, DEPARTMENT OF JUSTICE, DEPARTMENT OF STATE,
                              DEPARTMENT OF THE TREASURY, OFFICE OF THE DIRECTOR OF NATIONAL
                              INTELLIGENCE. (A achmen : # 1 Te of P opo ed O de )(Konkol , An onia) (En e ed:
                              08/07/2019)
    08/08/2019                  MINUTE ORDER. Upon con ide a ion of he pa ie ' 50 Join S a Repo        ih
                                P opo ed B ie ng Sched le, he pa ie hall adhe e o he follo ing b ie ng ched le: (1)
                                Defendan Cen al In elligence Agenc ("CIA") hall le i mo ion fo mma j dgmen
                                b no la e han Sep embe 12, 2019; (2) Plain iff hall le hei c o -mo ion fo
                                  mma j dgmen b no la e han Oc obe 10, 2019; (3) he CIA hall le a ingle
h    ://ecf.dcd. c    .g   /cg -b /D R . ?165764566595621-L_1_0-1                                                         8/12
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                             memo and m con aining i epl a g men in ppo of i mo ion and in oppo i ion o
                             Plain iff ' mo ion b no la e han Oc obe 31, 2019; and (4) Plain iff hall le a epl
                             memo and m in ppo of hei mo ion b no la e han No embe 14, 2019. Signed b
                             J dge Emme G. S lli an on 8/8/2019. (lceg 3) (En e ed: 08/08/2019)
    08/15/2019             51 STIPULATION of Di mi al       A         C         b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. (Jaffe ,
                              Jameel) (En e ed: 08/15/2019)
    08/19/2019                  MINUTE ORDER. In ie of he 51 Join S ip la ion of Di mi al of Se e al Agencie
                                and Componen , Defendan Cen al In elligence Agenc and he Ai Fo ce a e he
                                 emaining defendan in hi ac ion. P       an o Fede al R le of Ci il P oced e 41(a)(1)
                                (A)(ii), Plain iff ol n a il di mi ed i h p ej dice hei claim again he follo ing
                                nine Defendan : (1) Defen e In elligence Agenc ; (2) Depa men of Homeland Sec i ;
                                (3) Depa men of S a e; (4) Depa men of T ea        ; (5) Fede al B ea of In e iga ion;
                                (6) Na ional Reconnai ance Of ce; (7) Na ional Sec i Agenc ; (8) Na ; and (9)
                                Of ce of he Di ec o of Na ional In elligence. Signed b J dge Emme G. S lli an on
                                8/19/2019. (lceg 3) (En e ed: 08/19/2019)
    09/12/2019             52 MOTION fo S mma J dgmen b CENTRAL INTELLIGENCE AGENCY
                              (A achmen : # 1 Memo and m in S ppo , # 2 Decla a ion of An oine e B. Shine , # 3
                              E hibi 1, # 4 E hibi 2, # 5 E hibi 3, # 6 S a emen of Fac , # 7 Te of P opo ed O de )
                              (Konkol , An onia) (En e ed: 09/12/2019)
    09/13/2019                  MINUTE ORDER den ing i ho p ej dice 52 Defendan ' Mo ion fo S mma
                                J dgmen fo fail e o compl i h pa ag aph 13 of he Co ' S anding O de , ECF No.
                                46 a 8-10. Plain iff ' deadline o e pond o Defendan ' mo ion i he eb VACATED. The
                                pa ie a e di ec ed o bmi a join p opo ed b ie ng ched le b no la e han Sep embe
                                27, 2019. Signed b J dge Emme G. S lli an on 9/13/2019. (lceg 3) (En e ed:
                                09/13/2019)
    09/16/2019             53 PROPOSED BRIEFING SCHEDULE (J          ) b CENTRAL INTELLIGENCE AGENCY.
                              (A achmen : # 1 Te of P opo ed O de )(Konkol , An onia) (En e ed: 09/16/2019)
    09/18/2019                  MINUTE ORDER. Upon con ide a ion of he 53 Join P opo ed B ie ng Sched le, he
                                pa ie hall adhe e o he follo ing b ie ng ched le: (1) Defendan Cen al In elligence
                                Agenc ("CIA") hall e- le i mo ion fo mma j dgmen b no la e han Sep embe
                                20, 2019; (2) Plain iff hall le hei c o -mo ion fo mma j dgmen b no la e han
                                Oc obe 10, 2019; (3) he CIA hall le a ingle memo and m con aining i epl
                                a g men in ppo of i mo ion and in oppo i ion o Plain iff ' mo ion b no la e han
                                Oc obe 31, 2019; and (4) Plain iff hall le a epl memo and m in ppo of hei
                                mo ion b no la e han No embe 14, 2019. Signed b J dge Emme G. S lli an on
                                9/18/2019. (lceg 3) (En e ed: 09/18/2019)
    09/18/2019             54 MOTION fo S mma J dgmen (C                   ) b CENTRAL INTELLIGENCE AGENCY
                              (A achmen : # 1 Memo and m in S ppo , # 2 Decla a ion of An oine e B. Shine , # 3
                              E hibi 1, # 4 E hibi 2, # 5 E hibi 3, # 6 S a emen of Fac , # 7 Te of P opo ed O de )
                              (Konkol , An onia) (En e ed: 09/18/2019)
    09/19/2019                  Se /Re e Deadline : CIA To Re-File I Mo ion Fo S mma J dgmen d e b
                                9/20/2019. Plain iff C o -Mo ion Fo S mma J dgmen d e b 10/10/2019. CIA Single
                                Memo and m Con aining I Repl A g men In S ppo Of I Mo ion And In
                                Oppo i ion d e b 10/31/2019. Plain iff Repl Memo and m In S ppo Of Thei Mo ion
                                d e b 11/14/2019. (mac) (En e ed: 09/19/2019)
    10/10/2019             55 C o MOTION fo Pa ial S mma J dgmen   AMERICAN CI IL LIBER IE
                               NION, AMERICAN CI IL LIBER IE NION FO NDA ION (A         :#1

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                             M                   ,#2D               R        K       ,#3E      A I, # 4
                                       F   ,#5       P          O     )(K         ,R   )M           10/11/2019
                                             ( ). (E     : 10/10/2019)
    10/11/2019                  NOTICE OF ERROR e 55 Mo ion fo Pa ial S mma J dgmen ; emailed o
                                 am a.k i hnan@knigh col mbia.o g, cc'd 14 a ocia ed a o ne -- The PDF le o
                                docke ed con ained e o : 1. T o-pa docke en , 2. Plea e e le doc men , 3. ing he
                                OPPOSITION e en ( jf, ) (En e ed: 10/11/2019)
    10/11/2019             56 Memo and m in oppo i ion o e 54 MOTION fo S mma J dgmen (C                  ) led b
                              AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION
                              FOUNDATION. (A achmen : # 1 Memo and m in S ppo , # 2 Decla a ion of Ram a
                              K i hnan, # 3 E hibi A o I, # 4 S a emen of Fac , # 5 Te of P opo ed O de )(K i hnan,
                              Ram a) (En e ed: 10/11/2019)
    10/28/2019             57 Con en MOTION fo E en ion of Time o File Re pon e/Repl (R
                              J        B               ) b CENTRAL INTELLIGENCE AGENCY (A achmen : #
                              1 Te of P opo ed O de )(Konkol , An onia) (En e ed: 10/28/2019)
    10/30/2019                  MINUTE ORDER g an ing 57 Con en Mo ion fo E en ion of Time o File
                                Re pon e/Repl . The pa ie hall adhe e o he follo ing modi ed b ie ng ched le: (1)
                                 he CIA hall le a ingle memo and m con aining i epl a g men in ppo of i
                                mo ion fo mma j dgmen and in oppo i ion o Plain iff ' c o -mo ion fo mma
                                j dgmen b no la e han No embe 6, 2019; and (2) Plain iff hall le a epl
                                memo and m in ppo of hei mo ion b no la e han No embe 22, 2019. Signed b
                                J dge Emme G. S lli an on 10/30/2019. (lceg 3) (En e ed: 10/30/2019)
    10/30/2019                  Se /Re e Deadline : CIA Single Memo and m In S ppo Of I Mo ion Fo S mma
                                J dgmen And In Oppo i ion o Plain iff ' C o -Mo ion Fo S mma J dgmen d e b
                                11/6/2019. Plain iff Repl Memo and m In S ppo Of Thei Mo ion d e b 11/22/2019.
                                (mac) (En e ed: 10/30/2019)
    11/06/2019             58 RESPONSE e 55 C o MOTION fo Pa ial S mma J dgmen AND OPPO I ION O
                              DEFENDAN CIA MO ION FOR MMAR J DGMEN led b CENTRAL
                              INTELLIGENCE AGENCY. (A achmen : # 1 CIA Repl o Co n e -S a emen of
                              Ma e ial Fac )(Konkol , An onia) (En e ed: 11/06/2019)
    11/06/2019             59 REPLY o oppo i ion o mo ion e 54 MOTION fo S mma J dgmen (C        ) led
                              b CENTRAL INTELLIGENCE AGENCY. (A achmen : # 1 CIA Repl o Co n e -
                              S a emen of Ma e ial Fac )(Konkol , An onia) (En e ed: 11/06/2019)
    11/22/2019             60 Memo and m in oppo i ion o e 54 MOTION fo S mma J dgmen (C  ) led b
                              AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION
                              FOUNDATION. (K i hnan, Ram a) (En e ed: 11/22/2019)
    11/22/2019             61 REPLY o oppo i ion o mo ion e 55 C o MOTION fo Pa ial S mma J dgmen AND
                              OPPO I ION O DEFENDAN CIA MO ION FOR MMAR J DGMEN led b
                              AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION
                              FOUNDATION. (K i hnan, Ram a) (En e ed: 11/22/2019)
    01/24/2020             62 MOTION fo Lea e o Appea P o Hac Vice :A o ne Name- Meenak hi K i hnan, Filing
                              fee $ 100, eceip n mbe ADCDC-6764287. Fee S a : Fee Paid. b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                              (A achmen : # 1 Decla a ion, # 2 Te of P opo ed O de )(Jaffe , Jameel) (En e ed:
                              01/24/2020)
    01/24/2020                  MINUTE ORDER g an ing 62 Mo ion fo Lea e o Appea P o Hac Vice. Meenak hi
                                K i hnan i he eb admi ed p o hac ice o appea in hi ma e . Co n el ho ld regi er

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                             for e- ling ia PACER and le a no ice of appearance p r an o LC R 83.6(a).
                             Click for in r c ion . Signed b J dge Emme G. S lli an on 1/24/2020. (lceg 3)
                             (En e ed: 01/24/2020)
    01/29/2020             63 NOTICE of Appea ance b Meenak hi K i hnan on behalf of All Plain iff (K i hnan,
                              Meenak hi) (En e ed: 01/29/2020)
    09/03/2020             64 NOTICE OF WITHDRAWAL OF APPEARANCE a o AMERICAN CIVIL LIBERTIES
                              UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. A o ne Meenak hi
                              K i hnan e mina ed. (K i hnan, Meenak hi) (En e ed: 09/03/2020)
    11/24/2021             65 ORDER g an ing in pa and den ing in pa 54 Mo ion fo S mma J dgmen ; g an ing
                              in pa and den ing in pa 55 Mo ion fo Pa ial S mma J dgmen . Signed b J dge
                              Emme G. S lli an on 11/24/2021. (lceg 1) (En e ed: 11/24/2021)
    11/24/2021             66 MEMORANDUM OPINION. Signed b J dge Emme G. S lli an on 11/24/2021.
                              (lceg 1) (En e ed: 11/24/2021)
    11/24/2021                  MINUTE ORDER. In ie of 65 O de and 66 Memo and m Opinion, he pa ie a e
                                di ec ed o le, b no la e han Decembe 8, 2021, a Join S a Repo ega ding he
                                  a of hei emaining di p e. Signed b J dge Emme G. S lli an on 11/24/2021.
                                (lceg 1) (En e ed: 11/24/2021)
    11/29/2021                  Se /Re e Deadline : Join S a        Repo d e b 12/8/2021 (mac) (En e ed: 11/29/2021)
    12/08/2021             67 STIPULATION of Di mi al b AMERICAN CIVIL LIBERTIES UNION, AMERICAN
                              CIVIL LIBERTIES UNION FOUNDATION. (Jaffe , Jameel) (En e ed: 12/08/2021)
    12/08/2021             68 Join STATUS REPORT          R E      J       b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. (Jaffe ,
                              Jameel) (En e ed: 12/08/2021)
    12/08/2021             69 MOTION fo E en ion of Time o R   A      'F  b AMERICAN CIVIL
                              LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION. (Jaffe ,
                              Jameel) (En e ed: 12/08/2021)
    12/08/2021             70 MOTION fo En of J dgmen b AMERICAN CIVIL LIBERTIES UNION,
                              AMERICAN CIVIL LIBERTIES UNION FOUNDATION. (See Docke En 68 o ie
                              doc men ) ( jf) (En e ed: 12/09/2021)
    12/09/2021                  NOTICE OF ERROR e 68 S a Repo ; emailed o jameel.jaffe @knigh col mbia.o g,
                                cc'd 19 a ocia ed a o ne -- The PDF le o docke ed con ained e o : 1. T o-pa
                                docke en , 2. DO NOT REFILE - Co n el i eminded o docke all pa of hei ling
                                ( jf, ) (En e ed: 12/09/2021)
    12/09/2021                  MINUTE ORDER g an ing 69 mo ion o e end deadline. Plain iff hall le hei mo ion
                                fo a o ne ' fee b no la e han Feb a 21, 2022. Signed b J dge Emme G. S lli an
                                on 12/9/2021. (lceg 1) (En e ed: 12/09/2021)
    12/09/2021             71 JUDGMENT in fa o of he Cen al In elligence Agenc and again he Ame ican Ci il
                              Libe ie Union and he Ame ican Ci il Libe ie Union Fo nda ion. Signed b J dge
                              Emme G. S lli an on 12/9/2021. (lceg 1) (En e ed: 12/09/2021)
    12/10/2021                  Se /Re e Deadline : Plain iff Mo ion Fo A o ne Fee d e b 2/21/2022. (mac)
                                (En e ed: 12/10/2021)
    12/10/2021             72 CLERK'S JUDGMENT in fa o of Cen al In elligence Agenc again Ame ican Ci il
                              Libe ie Union and he Ame ican Ci il Libe ie Union Fo nda ion on 12/10/21. (mac)
                              (En e ed: 12/10/2021)

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    02/11/2022    73 MOTION fo E en ion of Time o F N               A        b AMERICAN CIVIL
                       LIBERTIES UNION, AMERICAN CIVIL LIBERTIES UNION FOUNDATION.
                       (A achmen : # 1 Te of P opo ed O de )(K i hnan, Ram a) (En e ed: 02/11/2022)
    02/14/2022            74 Memo and m in oppo i ion o e 73 MOTION fo E en ion of Time o F N
                             A       led b CENTRAL INTELLIGENCE AGENCY. (Konkol , An onia) (En e ed:
                             02/14/2022)
    02/16/2022            75 REPLY o oppo i ion o mo ion e 73 MOTION fo E en ion of Time o F N
                             A      led b AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL
                             LIBERTIES UNION FOUNDATION. (K i hnan, Ram a) (En e ed: 02/16/2022)



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